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                                                                          FILED
                       UNITED STATES DISTRICT COURT                        FEB 12 2016
                     SOUTHERN DISTRICT OF CALIFORNIA
                                                                      CLERK US DISTRICT COURT
                                                                   SOUTHERN DISTRICT OF CALIFORNIA
                                                                   BY                      DEPUTY
UNITED STATES OF AMERICA,                   CASE NO. 15cr1442-JLS

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
NUBEA SUZETTE MUNOZ-FRANCO
(16) ,

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

~    the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

~    of the offense(s) as charged in the Superseding Indictment:

     21:841(a)(1), 846; 21:853



          IT IS THEREFORE ADJUDGED


 DATED: FEBRUARY 9, 2016
                                            Nita L. Stormes
                                            U.S. Magistrate Judge
